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KN Honorable Thomas S. Zilly
AUG 28 2003 Set for Hearing August 29, 2003

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

VALVE, L.L.C., a Washington Limited
Liability Company, No. C 02-1683Z

Plaintiff, PLAINTIFF'S REPLY IN SUPPORT
OF ITS MOTION TO COMPEL
Vv. DISCOVERY

SIERRA ENTERTAINMENT, INC. (AKA {PUNY ULE VON) EYAL VT A
RRA ON- ; .), a Delaware
Corporation, {AUC 1 WO IO HY VA

Defendant. 02-CV-01683-RPLY

I. INTRODUCTION
Valve is entitled to full discovery regarding Sierra’s worldwide licensing of Valve

Games to cyber cafés. In an attempt to avoid its discovery obligations, Sierra downplays the
scope of this dispute. While Sierra considers its infringing behavior “unworthy of note” and
Valve’s concerns “mere grievances,” the question of Sierra’s manufacture and distribution of
Valve games to cyber cafés worldwide is fundamental to Valve. Sierra’s insistence that this
lawsuit is a small matter does not allow Sierra to escape its discovery obligations because the
lawsuit (and its attendant discovery) is bigger than Sierra expected or budgeted. The
discovery already received, Valve’s own investigations, and the admissions of Vivendi
Universal Games Vice President, Eric Roeder, all show that Sierra reproduced and distributed

Valve Games as part of a worldwide enterprise to supply and license Valve Games to cyber

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Case 2:02-cv-01683-TSZ-MAT Document 24 _ Filed 08/28/03 Page 2 of 7

cafés. The fact is that Valve’s requested discovery will likely lead to relevant information
that will shed light on Sierra’s infringing activities worldwide—something that Sierra is
trying to avoid by delaying discovery and forcing this motion to compel.

Il. ARGUMENT

A. Sierra Must Produce the Requested Discovery Because It Is Relevant to the
Claims and Defenses of the Parties.

The discovery sought by Valve is consistent with the scope of discovery in FED. R.
Civ. P. 26(b)(1) (“[rJelevant information need not be admissible at the trial if the discovery
appears reasonably calculated to lead to the discovery of admissible evidence.”). As the Rule
makes clear, relevant, discoverable documents constitute a much broader category than those

that are admissible at trial. Duplan Corp. v. Deering Milliken, Inc., 397 F. Supp. 1146, 1187

(D.S.C. 1974) (“Relevancy required as to the production of documents is not equated with
that ordinarily used in determining the admissibility of evidence. The test is the relevancy to
the subject matter which is broader than the relevancy to the issues presented by the
pleadings.”) Sierra’s infringement of Valve’s copyright, its defense based upon
extraterritoriality, and its own declaratory judgment counterclaim are all subjects for trial, and
Valve tailored its discovery requests in order to probe matters relevant to those claims and
defenses. Moreover, this is not a fishing expedition, Valve anticipates that the documents
produced will be highly relevant at trial in any event.

Sierra continues to object to discovery simply because it does not believe the
requested material is relevant to its characterization of Valve’s claim. Sierra is wrong. The
parties are litigating Sierra’s actions in manufacturing, distributing, and licensing Valve
Games to cybercafes worldwide. Although Sierra believes that such a claim is properly
framed only as a breach of contract, acting outside the scope of a license (as Sierra has done)
is also a violation of copyright law. Further, the law is clear that Valve can recover for

foreign activity that is enabled by domestic, predicate acts of infringement. See L.A. News

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Case 2:02-cv-01683-TSZ-MAT Document 24 Filed 08/28/03 Page 3 of 7

Serv. V. Reuters Television Int'l, Ltd., No. 02-56956, = F.3d__, 2003 WL 21982758, at *1

(9th Cir. August 21, 2003); see also Sierra’s Response Brief to Motion to Compel (“Sierra

Response”) at 5:22-26 (agreeing that Reuters II, which was decided in 1998, set forth the
same statement of law). Indeed, without discovery, Valve has no means to refute Sierra’s
bald claims that its activities are “extraterritorial” and beyond the subject matter jurisdiction

of the Court. Further, Sierra is wrong in its reading and application of Subafilms, Ltd. v.

MGM-Pathe Communications Co., 24 F.3d 1088, 1095 (9th Cir. 1994), which simply does
not act as a bar to discovery. Sierra attempts to characterize its activities as “mere
authorization” under Subafilms. See Sierra Response at 10. As set forth in Valve’s complaint
and as shown by the evidence, however, Sierra and its affiliates did far more than “merely
authorize” overseas activities. In fact, there is already evidence indicating that Sterra’s
worldwide activities are far more connected and dependant upon its domestic activities than
Sierra would care to admit. See Motion to Compel at 4:8-5:3.

Moreover, Sierra cannot just declare it is authorized to manufacture and reproduce
Valve Games for any purpose and be done with it. See Sierra’s Response at 2:2-4 (“Sierra’s
activities within the United States, such as the replication of software and the authorization for
use of said software overseas by cyber cafés, cannot amount to U.S. copyright
infringement.”). At this stage, that interpretation of the Agreement is merely Sierra’s untested
defense. Sierra is not allowed to reproduce Valve games at will, in any form, or for any
purpose. Instead, Sierra can only replicate Valve Games as Retail Packaged Product for
distribution in the Retail Channel. Valve Motion to Compel at 3:3-11.

Further, although Sierra continues to argue as if there is no act of infringement
involving a foreign cybercafe that has ever been completed in the United States, the Vivendi
Universal Games License used by Sierra’s agent, Asia Media Development Group

(“AMDG”), clearly contradicts that claim. The Vivendi Universal Games license expressly

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Case 2:02-cv-01683-TSZ-MAT Document 24 Filed 08/28/03 Page 4of7

states that it “is deemed to have been made and executed in the State of California in the
United States of America.” Holtman Decl. Ex. 13 (emphasis added). In the face of such
evidence, however, Sierra continues to maintain that its actions in the Philippines are “wholly
extraterritorial.” This untenable position underscores Valve’s need to obtain the Court’s
assistance in compelling production from Sierra. Without Valve’s serendipitous discovery of
the Vivendi Universal Games’ license, it is unlikely that Sierra would have searched for
and/or produced any such information based on its blanket objection that it would be
“irrelevant.” Sierra may wish to offer excuses regarding the AMDG license, but that is
properly the subject of trial. Valve is entitled to discover all such information and prepare its
case accordingly by taking a closer look at Sierra’s foreign activities—even if Sierra does not
want it to.
B. The Possibility that Additional Claims Will Be Added or that Valve’s Existing
Claim May be Defined and Clarified Based on the Fruits of Discovery Is Not a
Basis to Limit Discovery.

Valve brought a valid claim of copyright infringement under U.S. law. Itis allowed

discovery on this claim to “define and clarify” the issues. Soto v. City of Concord, 162

F.R.D. 603, 610 (N.D.Cal. 1995). Sierra asserts that it is not obligated to produce the
requested documents, however, because such discovery would only be relevant to claims
under foreign copyright law. Sierra Response at 5:16-19 (‘Available to Valve are causes of
action for...copyright infringement under the laws of several foreign jurisdictions.”). First, as
set forth above, the requested documents are relevant to a claim under United States copyright
law because they will help determine to what extent Sierra’s activities are based in the United
States, which activities were enabled by Sierra’s predicate acts of infringement, and/or what
extent of the damage was caused by these acts. Second, the argument that other claims
may/should be added in order to afford Valve complete relief is not a valid basis for Sierra to

resist discovery. If discovery demonstrates that amendment of the complaint is necessary to

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Case 2:02-cv-01683-TSZ-MAT Document 24 _ Filed 08/28/03 Page 5of7

bring actions under foreign copyright law, Valve may choose to do so. See Boosey &
Hawkes Music Publrs., Ltd. v. Walt Disney Co., 145 F.3d 481, 491, 492 (2nd Cir. 1998)
(hearing foreign copyright infringement actions in U.S. District Court where, “[e]verything
before us suggests that trial would be more ‘easy, expeditious and inexpensive’ in the district
court than dispersed to 18 foreign nations.”).

Cc. Sierra’s Claim that the Discovery Would be Difficult Does Not Allow It To

Ignore Its Responsibility to Produce the Requested Documents

Sierra also states that Valve’s discovery requests would burden “an entity the size of
Sierra/Vivendi.” This excuse is meritless. Large companies do not escape their discovery
obligations on account of their size. Sierra cannot avoid complying with a discovery request
due to the claimed inconvenience of identifying all the relevant documents, particularly when
evidence exists that shows Sierra is infringing its license.' Sierra is obligated under the
Federal Rules to produce documents “reasonably calculated to lead to the discovery of
admissible evidence.” FED. R. Civ. P. 26(b).

D. Sierra Has Changed Its Position Regarding the Collection and Production of

Documents from its Foreign Affiliates.

Prior to forcing this motion to compel, Sierra maintained that it would not provide any
documents that were not physically present in the United States. This position was argued in
Sierra’s Motion for Protective Order in which it claimed that it had “agreed to produce all
U.S.-based documentation,” (emphasis added) and distinguished this production from a
collection undertaken on a “worldwide basis.” Sierra’s Motion for Protective Order at 6:15-25
(emphasis in original). Faced with Valve’s Motion to Compel, however, Sierra made an

about face on this issue. Notably, Sierra does not take issue with any of the law cited by

' Valve’s discovery on its own that Sierra’s activities related to foreign cybercafes were
connected to the United States demonstrates Sierra’s failure to live up to its discovery
obligations. See Fed R. Civ. P. 26(g}(2) (requiring a “reasonable inquiry” when responding to
discovery). Sierra’s allegation that Valve’s discovery of Sierra’s infringement was a
“surreptitious investigation” is simply bizarre. If Sierra had simply provided the discovery as

requested, Valve would not have had to learn about Sierra’s activities from other sources.
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Valve for the proposition that Sierra must make full production from its affiliates, regardless
of whether they are overseas.

Moreover, given that Sierra has now agreed to produce documents from its overseas
affiliates, it has little reason to complain regarding the burden of collecting and processing
those documents. Sifting through evidence to identify documents in its foreign offices
regarding only U.S. activities would be more burdensome for Sierra than simply collecting
and producing all documents discussing cybercafes from its foreign offices.

V. CONCLUSION

Valve is entitled to the requested discovery regarding Sierra’s worldwide activities
related to cybercafes. Sierra cannot escape producing relevant documents by definitively
stating its interpretation of the Agreement, nor can it avoid production by arguing that the
question of extraterritoriality should be decided as a matter of law, when it is clearly an issue
of fact. That other claims may arise, or that multiple acts of infrmgement may be identified,
does not excuse discovery—and, in fact, that is one of the purposes of discovery. As Sierra
forced Valve to solicit the court for help in obtaining necessary discovery, Valve should be
awarded its costs and fees under FED. R. Civ. P. 37(a)(4).

DATED this 28th day of August, 2003.

PRESTON GATES & ELLIS Lip

By“ -~S_ {
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(no oral argument requested)
AT SEATTLE
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WESTERN DISTRICT OF WASHINGTON
BY DEPUTY

URIGINAL
UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

VALVE, L.L.C., a Washington Limited
Liability Company, No. C 02-1683Z
Plaintiff, CERTIFICATE OF SERVICE
v.
SIERRA ENTERTAINMENT, INC. (AKA
SIERRA ON-LINE, INC.), a Delaware

Corporation,

Defendant.

The undersigned declares, I am not a party to the above matter; that I am over the age
of 21 years and qualified to make this declaration. On the date below-written, I caused to be
served the Plaintiff's Reply in Support of its Motion to Compel Discovery and Certificate of
Service by legal messenger upon:

Robert J. Carlson

Mark P. Walters

Christensen O’ Connor Johnson Kindness
1420 Fifth Avenue, Suite 2800

Seattle, WA 98101-2347

DATED this 28th day of August, 2003.

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Linda F. Gage

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